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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------X
                                     :
LIGHTBOX VENTURES, LLC,              :
                                     :            16cv2379(DLC)
                          Plaintiff, :
                                     :             OPINION AND
                -v-                  :                ORDER
                                     :
3RD HOME LIMITED and WADE SHEALY,    :
                                     :
                          Defendants.:
                                     :
------------------------------------X
------------------------------------X
                                     :
3 HOME LIMITED and WADE SHEALY,
 RD                                  :
                                     :
                          Third-Party:
                          Plaintiffs,:
                                     :
                -v-                  :
                                     :
ANDREW ELLNER,                       :
                                     :
                          Third-Party:
                          Defendant. :
                                     :
------------------------------------X

APPEARANCES:

For the plaintiff and third-party defendant:
Brem Moldovsky
Brem Moldovsky, LLC
411 Lafayette Street, 6th Floor
New York, NY 10003

For the defendants:
Philip Byron Jones
Evans, Jones & Reynolds, P.C.
401 Commerce Street, Suite 710
Nashville, TN 37219
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DENISE COTE, District Judge:

     Plaintiff Lightbox Ventures, LLC (“Lightbox”) commenced

this suit on March 31, 2016, bringing claims of breach of

contract and breach of fiduciary duty against defendants 3rd Home

Limited (“Third Home”) and Wade Shealy, the CEO of Third Home.

Defendants bring three claims against Lightbox and against Third

Home investor and Lightbox founder Andrew Ellner (“Ellner”),

arising out of Ellner’s use of the Third Home name and email

address after this lawsuit was filed.       There is diversity

jurisdiction over this action.     This Opinion contains the

Court’s findings of fact and conclusions of law following a

bench trial on submission.



                              Background

     The following constitutes the Court’s findings of fact.

This case arises out of a failed joint venture (the “Joint

Venture”) between the parties.     Familiarity with the Court’s two

prior Opinions in this matter is assumed.       See Lightbox

Ventures, LLC v. 3RD Home Ltd., No. 16cv2379(DLC), 2017 WL

5312187 (S.D.N.Y. Nov. 13, 2017) (the “Summary Judgment Opinion”

or “Lightbox II”); Lightbox Ventures, LLC v. 3RD Home Ltd., No.

16cv2379(DLC), 2016 WL 6562107 (S.D.N.Y. Oct. 28, 2016) (the

“Preliminary Injunction Opinion” or “Lightbox I”).

     Third Home operates a website, www.3rdhome.com, for owners


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of luxury homes to exchange time in their homes.        Third Home was

created in 2011, and in 2011 Third Home registered two

trademarks:   3rdhome and 3rdhome with the image of a house

replacing the letter “o.”     Exchanges of time on Third Home’s

platform are facilitated by the use of points, referred to as

“keys,” which is the currency used to reserve time in users’

homes.   In 2015, Third Home had 6,500 members.

    Ellner is a former managing director at Lehman Brothers,

and is a member of and investor in Third Home.        Ellner created

Lightbox in 2015 to be an online real estate listing and sales

business.   Ellner proposed forming a joint venture with Third

Home in 2015, hoping that Lightbox would earn commissions and

fees from the sale of vacation homes on a real estate listing

website (the “Website”).    The Website would be promoted by Third

Home placing a link to the Website on the Third Home main

webpage.

I. The Agreement

    The parties entered a joint venture agreement (the

“Agreement”) on July 13, 2015.     The Agreement’s stated purpose

is “to establish a joint venture between the parties to create

an online platform for the resale of vacation homes, fractional

ownership properties and other properties eligible to be listed

on 3RDHOME.COM, which is to be linked to the existing 3RD HOME

site.”


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    Paragraph 1 of the Agreement describes Lightbox’s

obligations as follows:

    a. [Lightbox] shall be responsible for fronting the
    cost for the technology build-out of the 3RD Home
    website including an interface for [Lightbox] use.
    Fronting the cost of the creating a [Lightbox] website
    at a level equivalent to the 3RD Home site is also the
    financial responsibility of [Lightbox].

    . . .

    c. [Lightbox] shall be fully responsible for managing
    any and all interactions with buyers and sellers and
    potential buyers and sellers, as well as all
    intermediaries required for any sale, including local
    real estate brokers, property management companies and
    local attorneys as needed.

    . . .

    f. [Lightbox] agrees that it will share evenly with
    3RD Home (50 % / 50 %) all profits realized from this
    business venture after deducting reasonable direct
    costs of doing business, which costs will be
    documented and records presented to 3RD Home upon
    request. However, this profit share will begin only
    after the outlay for the technology build-out has been
    recouped, as described in paragraph 2b below.

(Emphasis supplied.)

    Paragraph 2 of the Agreement describes Third Home’s

obligations:

    a. 3RD Home agrees to keep an active link on their
    site to the [Lightbox] site, this link shall be in a
    prominent place which is easily recognizable and
    usable by potential buyers and sellers of properties
    through the site. The location and visibility of the
    link shall be agreed upon between the parties with
    final determination by 3RD HOME.

    b. 3RD Home agrees that the first profits of
    [Lightbox] will go toward reimbursing [Lightbox] for


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    the technology build-out mentioned earlier in
    paragraph 1 (a). After that amount has been
    reimbursed, the 50%/50% profit sharing will begin and
    continue as long as this Agreement remains in full
    force and effect.

    c. 3RD Home agrees to forward all inquiries related to
    the buying and selling of vacation homes, residence
    clubs, fractionals and the like to [Lightbox] and that
    3RD Home will be a passive partner in the sales and
    marketing of these homes, with its only active role
    being the maintenance of the links on the 3RD HOME
    site with [Lightbox]. It will forward all inquiries
    regarding sales and purchases of vacation homes,
    residence clubs, fractionals and the like to
    [Lightbox] exclusively and in a timely manner.

    d. 3RD Home agrees to that this [sic] arrangement is
    exclusive and that they will not enter into any
    similar arrangement with another sales and marketing
    organization without the permission of [Lightbox].

    e. 3RD Home will be responsible for all relationships
    with the affiliates. In the interest of maintaining
    these relationships, 3RD Home retains the right to
    determine that certain affiliate properties may not be
    able to be sold through [Lightbox], 3RD Home will
    inform [Lightbox] in writing of such an exclusion,
    should it occur.

    f. 3RD HOME will make the final determination of the
    name and the URL of the resale business. All 3RD HOME
    names, marks, and other proprietary assets that may be
    used in conjunction with the marketing of this program
    will remain the exclusive property of 3RD HOME at all
    times during the term and after.

(Emphasis supplied.)

    The Agreement also provides that New York law applies.

Paragraph 4 includes a provision shifting attorneys’ fees as

follows:

    (c) Attorneys’ Fees. If either party employs
    attorneys to enforce any rights arising out of or


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    relating to this agreement, the losing party shall
    reimburse the prevailing party for its reasonable
    attorneys’ fees and costs.

    The Agreement also includes a placeholder termination

provision that states as follows:

    This is a temporary interim agreement to indicate the
    intent of the parties, and will remain in effect until
    July 13, 2017 or earlier if superseded by a later
    agreement. If 3RD HOME should desire to terminate
    because of unanticipated issues before July 13, 2017
    then it will promptly reimburse LightBox for any
    unreimbursed costs of the technology build out.
    Additional terms regarding termination of this
    agreement and the rights and steps to terminate it are
    expected before August 31, 2015.

II. The Amended Termination Provision

    Ellner and Shealy signed an amended termination provision

in December 2015 (the “Amendment”).      That document provides as

follows:

    15. TERMINATION

    (a) The Agreement shall be for a term of thirty (30)
    months, expiring on July 1, 2018, unless terminated
    earlier in accordance with the provisions set forth
    below. . . .

    (b) LIGHTBOX VENTURES may terminate this Agreement in
    advance of its expiration upon thirty (30) days’
    written notice. In the event LIGHTBOX VENTURES
    terminates this Agreement pursuant to this clause, it
    waives any claim it has or may have for reimbursement
    of the technology costs referenced in Paragraph 1(a),
    herein, and the fees referenced in 1(d), herein.
    Furthermore, in the event LIGHTBOX VENTURES so
    terminates this Agreement in advance of its
    expiration, without selling its portion of the joint
    venture to either 3RD HOME or a third party, in
    accordance with the terms of Paragraph 16 herein, it
    thereby waives any claim it has or may have to its


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share of the joint venture between the parties as set
forth in this Agreement.

(c) 3RD HOME may terminate this Agreement in advance
of its expiration upon a upon [sic] thirty (30) days
written notice without cause. In the event of an
early termination pursuant to this clause, 3RD HOME
agrees to reimburse LIGHTBOX VENTURES for the
technology costs referenced in Paragraph 1(a) herein,
to the extent those costs are not already fully
recouped at the time of said termination, pursuant to
Paragraph 1(f), herein. Furthermore, in the event 3RD
HOME elects to terminate this Agreement in accordance
with this Paragraph 15(c), it agrees that it will not
re-enter the business of or otherwise operate, in any
manner, an online platform for the sale and resale of
vacation homes and fractional ownership properties or
otherwise engage in any venture which is intended to
compete with or does compete with LIGHTBOX VENTURES in
the business contemplated by this Agreement for a
period of time totaling two (2) years following the
date of termination of this Agreement. Nothing herein
however shall restrict, prohibit or otherwise restrain
3RD HOME from the continued operation of its other
business activities, including but not limited to its
operation of a vacation property management and home
exchange website and those matters related hereto.

(d) Either party may terminate this agreement due to
cause as follows. In the case of LIGHTBOX VENTURES,
they may terminate this Agreement due to cause if 3RD
HOME does not adequately create an attractive
inventory of homes and/or generate adequate sales
leads. If 3RD HOME is unable to cure such poor
performance within a reasonable period of time, and
LIGHTBOX VENTURES decides to exercise its right to
terminate the Agreement due to cause, 3RD HOME agrees
not to re-enter the business of or otherwise operate,
in any manner, an online platform for the sale and
resale of vacation homes and fractional ownership
properties or otherwise engage in any venture which is
intended to compete with or does compete with LIGHTBOX
VENTURES in the business contemplated by this
Agreement for a period of two (2) years following the
date of termination of this Agreement. In the case of
3RD HOME, they may terminate due to cause if LIGHTBOX
VENTURES does not expeditiously follow up on leads


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generated and otherwise make a good faith effort to
generate sales as contemplated by this Agreement. If
LIGHTBOX VENTURES is unable to cure such poor
performance within a reasonable period of time, 3RD
HOME will promptly reimburse LIGHTBOX VENTURES for any
unreimbursed costs of the technology build out and may
continue to operate the business independently.

(e) In addition, in the event 3RD HOME wishes to
terminate this Agreement with LIGHTBOX VENTURES but
continue to operate the business of the joint venture
contemplated by this Agreement independently of
LIGHTBOX VENTURES, 3RD HOME will buy out LIGHTBOX
VENTURES from the joint venture, and the price of such
buyout will be determined by averaging three (3)
separate prices determined by three separate and
independent accredited business valuation
professionals who will each value the joint venture
created by this Agreement. 3RD HOME will pay all
costs of such valuations. At the conclusion of these
valuations 3RD HOME will pay to LIGHTBOX VENTURES an
amount equal to fifty percent (50%) of the average of
the three (3) values as determined by the
aforementioned business valuation professionals. Upon
such payment the joint venture between the parties
shall terminate.

(f) In the event of a termination of this Agreement
pursuant to Paragraph 15 above (by LIGHTBOX VENTURES)
or 15(c), above (by 3RD HOME), it is agreed and
understood that the operation of the joint venture
shall cease within a reasonable time thereafter. In
such event, the parties agree to cooperate with one
another to wrap up the affairs of the joint venture in
an appropriate and orderly manner, and to sign any and
all documents necessary to effectuate the termination
and dissolution of the joint venture. As part of the
winding up of the affairs of the joint venture, it is
agreed and understood that each party will take those
steps necessary, and within a reasonable period of
time, to deactivate any links to their respective
websites that identify the remaining party.

(g) Other than as set forth herein, neither party
shall have the right to use the other party’s
trademarks or name in any manner whatsoever other than
in the materials that are approved in writing by the


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    party whose trademarks or name is being used, and only
    for the express purposes set forth herein. Any such
    permission to use the aforementioned names and/or
    marks shall cease upon the expiration or termination
    of this Agreement, in accordance herewith.

(Emphasis supplied.)

III. The Exclusive Brokers

    In late 2015 and early 2016, Third Home began negotiating

and entering agreements with other real estate brokers (the

“Exclusive Brokers”).     In these contracts, Third Home

principally agrees to offer complimentary membership to Third

Home’s exchange program to owners and buyers sponsored by the

Exclusive Broker and to promote the Exclusive Broker’s business

on Third Home’s website.     In return, the Exclusive Broker agrees

to pay Third Home an upfront fee and promote the Third Home

luxury home exchange program to its owners and buyers.         The

upfront fee, which ranged from $2,500 to $10,000, generally

gives the Exclusive Broker “the agreed territory for exclusive

representation for one year.”     Of particular relevance to the

instant dispute, some of these contracts also include a

provision indicating that the Exclusive Broker “will receive all

the leads generated by [Third Home’s] inbound members and by our

real estate posting site and as part of this agreement agrees to

pay a referral fee of 25% on any real estate transaction that

takes place based on that referral buying or selling.”

(Emphasis in original.)


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     A December 2015 draft of one such contract required the

Exclusive Broker to pay the 25% referral fee to Third Home’s

“partner” Lightbox.    A later version of this contract omitted

the duty to pay Lightbox.     Third Home received $52,500 from the

Exclusive Brokers, all in the form of upfront fees.         Lightbox

has not received any of these funds.

IV. Lightbox’s Costs Creating the Joint Venture

     In 2015 and 2016, Lightbox spent money to build the Website

and to pay consultants to help develop the Joint Venture’s

business.   The Website was ready to be linked to Third Home’s

website in January 2016.     Third Home does not contest that

Lightbox is entitled to reimbursement for $62,158.         Lightbox

seeks an additional $4,930.19, for a total of $67,088.19.

     The total of $67,088.19 consists of the following:

$63,658.00 for website development,1 $593.75 for website

maintenance and preservation, $634.03 for the Joint Venture’s

toll-free number, $1,914.41 for website staging, and $288.00 for

recording of communications and documents related to the Joint

Venture’s anticipated transactions.       Although some of these

expenses do not seem directly related to the “technology build-

out of the 3RD Home website,” as contemplated in Paragraph 1(a)

of the Agreement, the sole argument Third Home advances to avoid


1 Ellner states that $62,158 of this amount is the portion of
Lightbox’s expenses that Third Home does not contest.


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payment of $4,930.19 is that such expenses were incurred after

its March 8, 2016 Notice of Termination.

     Of the $4,930.19 in dispute, $1,919.75 reflects work

performed before March 8, 2016.2        The $1,919.75 is composed of

website development work done by The Agile Leage LLC in February

2016, in the amount of $1,500, as reflected in its invoice.

Another $7.76 reflects work done by Grasshopper Group, LLC in

February 2016 and billed to Lightbox on March 6, 2016.

Grasshopper Group set up a toll-free number for the Joint

Venture.   Next, Lightbox paid Heroku $267.99 for “website

staging” work performed before the March 8 Notice of

Termination.   Finally, Lightbox paid $144.00 to Zoho CRM on

October 3, 2015, which was paid to “record all communications

and document trails related to the Joint Venture’s anticipated

transactions, from listings through closings.”

     The remaining $3,010.44 reflects work performed after March

8, 2016.   This amount includes additional amounts paid to the

companies named above.     Lightbox paid $626.27 to Grasshopper

Group, $1,646.42 to Heroku, and $144.00 to Zoho CRM for work

done after March 8.    Lightbox additionally paid $593.75 to


2 As explained in the Summary Judgment Opinion, Lightbox Capital
Management LLC is a company run by Ellner that paid some of the
Website-related expenses. See Lightbox II, 2017 WL 5312187, at
*5 n.3. Third Home does not contest that plaintiffs should be
reimbursed regardless of whether Lightbox Capital paid in the
first instance.


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Cuttlesoft, LLC for performing several technical tasks relating

to the Website after March 8.3

     Lightbox also seeks $115,000, comprised of $60,000 due to

David Graff and $55,000 due to Susan Stein.        None of these

expenses constitute reimbursable payments for the “technology

build-out” of the Website directed in Paragraph 1(a) of the

Agreement.

     Graff worked as a consultant for Lightbox beginning from an

unspecified date in early 2015 and extending to February 2016.

He provided consulting services to Lightbox in the following

areas:

     branding and trademarking; strategic partnerships
     within the travel industry; advising on the use of
     virtual-reality augmented technology that would be
     used to market existing real estate properties and new
     developments; website design and search engine
     optimization; revenue opportunities in online
     advertising; co-branding and other marketing efforts
     to with [sic] business in related industries such as
     the vacation and travel sectors; and establishing
     relationships with online and print mediate outlets.

He also “advised on how to build a user friendly web site in

order to facilitate and improve the user experience,” which

“included using modern technologies such as virtual and


3 Lightbox submitted one invoice in its trial submissions, for
$375.00, but did not include in those papers a second invoice
for $218.75 that it had submitted in connection with its summary
judgment motion. Third Home only challenges the additional
$218.75 on the ground that the work was performed after Third
Home terminated the Agreement, so the Court will consider the
combined amount of $593.75.


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augmented reality systems to allow the user to take a 360 degree

tour of a property.”

    Stein is an attorney who worked as a consultant for

Lightbox from early 2015 through Fall 2016.        Her consulting

included “assisting in the researching and creating forms for

listing agreements and referral agreements and other

documentation and similarly helping to design the [Joint

Venture] website interfaces.”      In addition, she “participated in

. . . a conference call training session for use of the fully-

operational [Joint Venture] website.”

    As noted, the Website became operational in January 2016.

The principal services provided by Graff and Stein do not

constitute work performed as part of the “technology build-out”

of the Website.   To the extent their services supported the

technology build-out, Lightbox has not provided a way to measure

or value that portion of their services.

V. The Joint Venture’s Operations

    In January 2016, the Website became operational at

www.3rdhomerealestate.com.     Third Home provided Ellner with the

email address andy@3rdhomerealestate.com, for Ellner to use in

connection with the Joint Venture.

    Ellner has shown that he procured two listing agreements

from two property owners before this litigation began.          The

other purported listing agreements he has submitted only reflect


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negotiations or inquiries from interested realty companies and

are not executed contracts to have property listed on the

Website.

    In the listing agreements, the property owners retained the

Joint Venture “for the purpose of marketing and/or selling” the

properties on the Website.     The owners agreed to give the Joint

Venture a commission upon the sale of their properties “when

such sale is either directly or indirectly the result of the

Buyer, or a broker representing the Buyer, contacting

3rdHomeRealEstate.com to inquire about this or another property

listed on 3rdHomeRealEstate.com.”       The commission percentage

ranged from 6% to 10% depending on the price at which the

property was sold.    The agreements expired after one year unless

a contract was signed during that time.       There is no evidence

that either property has been sold since the listing agreements

were executed.

    Although the Website was operational, Third Home never

activated the link to the Website from the Third Home website.

By February 2016, the relationship between Ellner and Shealy had

soured.    Ellner repeatedly raised concerns with Shealy about

Third Home’s arrangements with the Exclusive Brokers.          On March

21, Ellner received an email from a broker stating that Shealy

had expressed concern with her listing certain real estate

property on the Website because one of the Exclusive Brokers


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“has an exclusive.”

    On March 8, counsel for Third Home sent Lightbox a written

notice of termination, which stated that Third Home was

exercising its termination rights under Paragraph 15 and sub-

paragraph 15(e) (the “March 8 Termination Notice”).         Third Home

sent a second letter to Lightbox on March 21 insisting on its

“unconditional right to terminate under Section 15(e)” and to

arrange a time for the parties to discuss valuation of the Joint

Venture.   Third Home never hired or paid the cost of the

appraisals of the Joint Venture specified in Paragraph 15(e) of

the Amendment.   Lightbox filed this lawsuit on March 31.

VI. Ellner’s Use of Third Home Trademarks

    Shealy ordered that the Website be taken down on or around

July 19, 2016.   After the Website was taken down, on July 21 and

July 22, Ellner used his andy@3rdhomerealestate.com email

address to inform Joint Venture clients that “there is a

temporary problem with the 3rdhomerealestate.com website,” and

apologizing on behalf of “Wade and I.”       On July 21, Shealy wrote

Ellner “please do not include me or my name on any more emails.”

    On July 21, Ellner registered the domain 3rdhomerealty.com.

Ellner then published the Website and its real estate listings

to the new domain.    With the new domain name registered, on July

27 and July 28, Ellner informed clients with properties listed

on the Website that their listings are “again live” on the


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3rdhomerealty.com website.     The 3rdhomerealty.com website

depicted the “3RD HOME” trademark, which had been registered to

Third Home since 2011.

     On August 8, counsel for Third Home sent Lightbox and

Ellner a letter indicating that their use of websites and email

addresses using Third Home’s name and marks constituted

violations of law because the Agreement had been terminated.

The letter demanded that Lightbox and Ellner “immediately cease

and forever desist from the use of the Marks and confusingly

similar variations of the Marks in any form, including the

Domain Names, in website content, email addresses, and in any

other form.”4

     On or around July 28, the domain name

thirdhomerealestate.com was registered in Shealy’s name.          It was

not until March 2017 that Third Home deactivated Ellner’s

andy@3rdhomerealestate.com email address.




4 Ellner states that he took the Website down “within
approximately 24 hours of creating it, which was also within 24
hours of notifying Mr. Shealy of it by the e-mails to the Joint
Venture clients.” It is unclear whether he means that the
Website was taken offline from the 3rdhomerealty.com domain
within 24 hours of registering the domain on July 21, within 24
hours of the emails he sent on July 27 and 28, 2016, or within
24 hours of the cease and desist letter sent by Third Home’s
counsel on August 8.


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                          Procedural History

    This case was filed on March 31, 2016.         In its original

complaint, Lightbox sued for breach of contract and breach of

fiduciary duty arising out of Third Home’s decision to terminate

the Joint Venture and pursue relationships with the Exclusive

Brokers.    The original complaint also sought declarations that

Third Home had breached the Agreement and that Lightbox had

validly terminated the Agreement for cause.

    On July 13, 2016, Lightbox filed a motion for a preliminary

injunction to prevent Third Home from entering brokerage

agreements or promoting brokerage services other than with

Lightbox.   This motion was denied on October 28, 2016.         See

Lightbox I, 2016 WL 6562107.

    The Preliminary Injunction Opinion explained that Lightbox

“failed to show that it will suffer irreparable harm” if an

injunction did not issue.     Id. at *10.    The Opinion explained

that “damages will largely compensate [Lightbox] for Third

Home’s violations of the Agreement since the Joint Venture never

got off the ground,” and Lightbox had only shown that it was

“entitled to compensation for some” of the “preparatory work” it

had done.   Id.   In addition, the Opinion noted that Lightbox

failed to show “that a viable, profitable business was about to

launch” before Third Home breached the Agreement.         Id. at *11.

The Opinion also observed that “Lightbox’s argument that the


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Joint Venture was poised to capture a large share of the

vacation homes sales business is . . . too speculative to

warrant a preliminary injunction.”       Id.   Finally, in his

affidavit submitted in opposition to the preliminary injunction,

Shealy noted that Lightbox “had expended $62,158” to create the

Website before the March 8 Notice of Termination and that “3rd

Home never disputed that [Lightbox] would be entitled . . . to

reimbursement for those technology costs.”

     In October 2016, Lightbox informed the Court that Third

Home had not produced in discovery communications in its

possession between Third Home and the Exclusive Brokers, as well

as related agreements.     On November 1, 2016, the Court ordered a

forensic examination of defendants’ computers and other

electronic devices, and on November 15, the Court approved a

protocol to govern the examination.       The examination revealed a

number of relevant documents that the defendants had not

previously produced to Lightbox.5




5    Lightbox sought reimbursement for the cost of the Fall 2016
forensic examination under Rule 37, Fed. R. Civ. P, on September
15, 2017. Lightbox’s motion was granted on November 15, 2017.
See Lightbox Ventures, LLC v. 3RD Home Ltd., No. 16cv2379(DLC),
2017 WL 5526073 (S.D.N.Y. Nov. 15, 2017). After briefing on the
cost of the examination, Lightbox was granted $38,888.01 in an
Order dated January 18, 2018. Third Home then sought a stay of
the payment until after trial. This request was denied by Order
of February 12, where the Court directed payment to the Clerk of
Court. Third Home paid $38,888.01 to the Clerk of Court on
March 5.


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       On January 12, 2017, the Court stayed proceedings so the

parties could enter mediation.         The stay was lifted April 3,

2017.     On April 20, the parties stipulated to an injunction

ordering Lightbox and Ellner not to use Third Home’s trademarks,

including domain names and email addresses, which was so ordered

April 20.

       On June 13, 2017, Third Home moved to exclude, under Rule

703, Fed. R. Evid., two valuations of the Joint Venture obtained

by Lightbox in support of its claim for lost profits, and moved

for summary judgment.       Lightbox moved for summary judgment on

June 16.     On November 13, 2017, the Court granted Third Home’s

motion to exclude Lightbox’s valuations, and partially granted

each party’s motion for summary judgment.           See Lightbox II, 2017

WL 5312187.

       The Summary Judgment Opinion resolved the motions for

summary judgment as follows.         Lightbox’s two valuations were

excluded because neither valuation was reliable.            See id. at *9-

*11.     Lightbox was granted summary judgment on its three breach

of contract claims:       “Third Home’s (1) failure to activate a

link to the Website on the Third Home webpage, (2) failure to

act as a ‘passive partner’ in the sales and marketing of homes,

and (3) entering into competition against the Joint Venture.”

Id. at *11.      Lightbox was also granted summary judgment on its

motion for damages in the amount of the costs it incurred for


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the “technology build-out” of the Website.          See id. at *12.

Lightbox was also granted summary judgment on its causes of

action seeking declarations that Third Home breached the

Agreement and that Lightbox could validly terminate the

Agreement for cause.      See id. at *13.     Finally, Lightbox was

granted summary judgment on its claim that Third Home violated

its fiduciary duty to Lightbox, and that Shealy aided and

abetted this breach.      See id. at *13-*14.

       Third Home, however, was granted summary judgment regarding

certain theories of damages sought by Lightbox under its breach

of contract claim.      Specifically, Third Home was granted summary

judgment on Lightbox’s claim for “any portion of the $52,500

that Third Home received from its Exclusive Broker contracts” as

damages for Third Home’s breach of contract, as well as on

Lightbox’s request for “consequential damages based on lost

profits or the overall value of the joint venture.”           Id. at *12-

*13.    Summary judgment was denied to Lightbox and Ellner as to

Third Home’s counterclaims.       See id. at *14-*17.

       Following the issuance of the Summary Judgment Opinion, the

Court outlined the remaining issues for trial (the “November 14

Order”).    The November 14 Order explained that the remaining

issues were “(1) the determination of Lightbox’s costs in excess

of $60,000 incurred in building the Website . . . , (2) whether

Lightbox is entitled on its breach of fiduciary duty claims to


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the amount or a share of the amount paid to Third Home by the

Exclusive Brokers; and (3) Third Home’s counterclaims and third-

party claims against Lightbox and Ellner.”

        On January 29, 2018, Lightbox informed that Court that it

believed the parties had agreed to a settlement on January 18,

which Third Home refused to confirm.           Lightbox’s motion to

enforce the settlement was denied on February 14.

        A jury trial was scheduled for March 12, 2018.         On February

14, 2018, the parties waived their jury demand.            Third Home

submitted motions in limine on February 16 and Lightbox did so

on February 26.      An Order of February 27 directed the parties to

file oppositions by March 5 and to address whether the remaining

issues could be tried on submission to the Court.            On March 9,

the parties informed the Court that they consented to trial on

submission, and proposed a schedule for filing reply affidavits

and supplemental proposed findings of fact and conclusions of

law.6    The parties filed their final submissions on March 16.



                                  Discussion

I. Lightbox’s Claims

        Lightbox has three claims remaining:        damages arising out


6 At this time, the parties also resolved two motions brought by
Lightbox related to a trial subpoena issued to Richard Scarola,
Lightbox’s former counsel, and the use of the injunction issued
against Lightbox as trial evidence.


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of Third Home’s breach of contract, damages arising out of Third

Home’s breach of fiduciary duty, and injunctive relief to

enforce portions of the termination provision of the Agreement.

Each claim is addressed in turn.

    A. Breach of Contract Damages

    On its breach of contract claim, Lightbox seeks $67,088.19,

which it represents is the amount it spent to create the

Website.   Lightbox also seeks an additional $115,000, which it

represents is what it owes to Stein and Graff for their

consultancy work on behalf of the Joint Venture.

    To recover damages on a breach of contract claim, a

plaintiff must show “that such damages were actually caused by

the breach, [and] that the particular damages were fairly within

the contemplation of the parties to the contract at the time it

was made.”   Awards.com, LLC v. Kinko’s, Inc., 834 N.Y.S.2d 147,

152 (1st Dep’t 2007), aff’d, 14 N.Y.3d 791 (2010).         To determine

whether the parties to an agreement fairly contemplated a type

of damages, courts use a “commonsense rule to determine what the

parties would have concluded had they considered the subject.”

Fitzpatrick v. Animal Care Hosp., PLLC, 962 N.Y.S.2d 474, 479

(3d Dep’t 2013) (citation omitted).

    The Agreement provides that Lightbox is entitled to recoup

the “technology costs” defined as the “technology build-out of

the . . . cost of creating a . . . website at a level equivalent


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to the 3RD Home site” in the event of an early termination of

the Agreement by Third Home.      The parties do not dispute that

Lightbox spent $67,088.19 to build-out the Website.         Third Home

contends that it does not owe $4,930.19 of this amount,

asserting that the costs in excess of $62,158 were incurred

after it sent Lightbox the March 8 Termination Notice.

    The invoices submitted by Lightbox regarding the disputed

$4,930.19 indicate that Lightbox incurred expenses of $1,919.75

by March 2016 and expenses of $3,010.44 after March 2016.

Lightbox has thus carried its burden of showing that it incurred

$64,077.75 to build the Website before the March 8 Termination

Notice.   The $3,010.44 remaining is a modest portion of this

total.    Lightbox has carried its burden to show an entitlement

to this remaining amount as well.       Third Home has not shown that

Lightbox incurred unnecessary expense in building the Website

either before or after March 8.      In the confusion created by the

collapse of the Joint Venture, Lightbox was entitled to spend a

modest sum to complete the Website’s “build-out,” and nothing in

the Agreement provides a basis for denying it recovery of the

completion costs.    The roughly $3,000 represents payments to

four different entities, three of which had begun their work

before March 8.     Accordingly, Lightbox is entitled to the amount

of its costs in building the Website, namely $67,088.19.

    While Lightbox has established that Third Home breached its


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argument with Lightbox in the three ways described above, it has

not shown that it is entitled to additional damages in the

amount of $115,000 in connection with those breaches.          This sum

reflects amounts paid to attorney Stein and consultant Graff.

Lightbox has not shown that they assisted in the “technology

build-out” of the Website.     There is therefore no basis to find

that Lightbox is entitled to reimbursement for $115,000 it owes

to Stein and Graff pursuant to Paragraphs 1(a) and 15(c) of the

Agreement.

    Nor has Lightbox shown that it and Third Home contemplated

Lightbox spending over $100,000 on business consultants for the

Joint Venture when they negotiated the Agreement, which would be

reimbursed by Third Home in whole or in part.        Instead, the only

provision under which Lightbox could recoup its costs other than

those derived from the build-out of the Website was the 50-50

profit-sharing provision in Paragraph 1(f).        Applying the

“commonsense rule” to evaluate the parties’ likely intentions

had they considered the issue, the fact that the Agreement

singles out the technology build-out apart from other costs

indicates that Lightbox would have borne the other costs of

creating the Joint Venture.     Thus, the only expectation Lightbox

had of recovering the $115,000 was based on a division the

future profits of the Joint Venture.       The Joint Venture never

began operation and therefore it made no profits.         The prospect


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of the Joint Venture’s profits, as discussed in the Summary

Judgment Opinion, is too speculative to grant expected profits

as damages.   As a result, Lightbox is not entitled to recover

any portion of the $115,000 it seeks in connection with Stein

and Graff’s consultancy services.7

     B. Breach of Fiduciary Duty Damages

     Lightbox next seeks damages for Third Home’s breach of its

fiduciary duty to Lightbox.     It seeks the $52,500 that Third

Home received from the Exclusive Brokers, as well as punitive

damages.8

     Lightbox first seeks disgorgement of the money Third Home

obtained from the Exclusive Brokers.       Disgorgement is available

to the victim of a breach of fiduciary duty.        See Restatement

(Second) of Torts § 874, cmt. b (“In addition to or in

substitution for [tort] damages the beneficiary may be entitled

to restitutionary recovery[;] . . . ordinarily [t]he

[beneficiary] is entitled to profits that result to the

fiduciary from his breach of duty and to be the beneficiary of a

constructive trust in the profits.” (emphasis supplied)); see




7 Third Home’s motion in limine to preclude Lightbox from seeking
to prove damages arising from Stein and Graff’s work is granted.

8 Lightbox was granted summary judgment on its claim that Third
Home breached its fiduciary duty to Lightbox. Third Home was
granted summary judgment as to Lightbox’s claim for lost
profits. See Lightbox II, 2017 WL 5312187, at *13-*14.


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also Bon Temps Agency Ltd. v. Greenfield, 584 N.Y.S.2d 824, 825-

26 (1st Dep’t 1992) (awarding plaintiff, on its breach of

fiduciary duty claim, fees earned from third parties by

defendant in course of defendant’s breach).        “[U]nlike an

ordinary tort or contract case,” an award of damages on a breach

of fiduciary duty claim is “not merely to compensate the

plaintiff for wrongs committed by the defendant but to prevent”

those wrongs.   City of Binghamton v. Whalen, 32 N.Y.S.3d 727,

729 (3d Dep’t 2016) (citation omitted).       Thus, “a fiduciary may

be required to disgorge any ill-gotten gain even where the

plaintiff has sustained no direct economic loss.”         Excelsior

57th Corp. v. Lerner, 553 N.Y.S.2d 763, 764-65 (1st Dep’t 1990).

    One half of the fees Third Home improperly obtained from

the Exclusive Brokers is awarded to Lightbox.        This award is

directly linked to Third Home’s breach of its fiduciary duty to

Lightbox.   Lightbox proposed to Third Home a Joint Venture

through which Third Home would share in the profits from

Lightbox’s work as a real estate broker.        If the Joint Venture

were successful, and the Website assisted Lightbox in selling

luxury residences, Lightbox was willing to split brokerage

commissions with Third Home.      Instead of fulfilling its

obligations as a Joint Venture partner, Third Home breached its

fiduciary duty to Lightbox and pocketed $52,500 it received from

Lightbox’s competitors by proposing a similar commission-sharing


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arrangement with them.

    Third Home argues that the Exclusive Broker fees that it

received were “not contemplate[d]” by the Joint Venture and that

Lightbox was accordingly not damaged by Third Home’s agreements

with the Exclusive Brokers.     In making this argument, Third Home

misunderstands the nature of the claim.       Lightbox is not

entitled to those fees because they should have been split by

the parties pursuant to the Agreement.       Lightbox is entitled to

disgorgement precisely because Third Home went outside of the

Joint Venture and realized profits with competitors to the Joint

Venture.   That conduct constitutes Third Home’s breach of its

fiduciary duty and it is the profits that stem from the breach

to which Lightbox is entitled.

    Lightbox seeks an award of the entirety of the $52,500

Third Home received from the Exclusive Brokers.         Since the Joint

Venture never got off the ground, any award larger than one-half

of this amount is unwarranted.

    Lightbox also seeks an accounting to determine whether

Third Home obtained additional profits from the Exclusive

Brokers beyond the fees.     Lightbox did not seek an accounting in

the SAC.   In any case, an accounting is unnecessary.         Lightbox

has had full discovery and has not presented evidence that Third

Home has received more than $52,500 from its Exclusive Broker

arrangements.


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     For similar reasons, Lightbox has not shown it is entitled

to any punitive damages.9     Under New York law, punitive damages

are available if a plaintiff shows “a high degree of moral

turpitude” by the breaching party and “such wanton dishonesty as

to imply a criminal indifference to civil obligations.”          Evans

v. Ottimo, 469 F.3d 278, 283 (2d Cir. 2006) (citation omitted).

Here, Third Home entered agreements with the Exclusive Brokers

that competed with the Joint Venture, but did so before the

Agreement got off the ground.      Third Home also notified Lightbox

of its intention to terminate the Joint Venture in March 2016,

less than eight months after the Agreement was signed and about

three months after the Amendment was executed.         This record does

not demonstrate a remarkable level of dishonesty.         Lightbox is

therefore not entitled to punitive damages.

     The Summary Judgment Opinion also granted summary judgment

to Lightbox on its claim that Shealy aided and abetted Third

Home’s breach of its fiduciary duty to Lightbox.         As such,

Shealy is jointly and severally liable for the damages awarded

to Lightbox on the breach of fiduciary duty claim.         See Talansky

v. Schulman, 770 N.Y.S.2d 48, 53 (1st Dep’t 2003) (“[A]ny one

who knowingly participates with a fiduciary in a breach of trust


9 Third Home’s motion in limine, seeking to prevent Lightbox from
introducing evidence of Third Home’s finances before the Court
determines whether Lightbox is entitled to punitive damages, is
denied as moot.


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is liable for the full amount of the damage caused thereby.”

(citation omitted)).     For the same reason as described above,

punitive damages are not warranted.       Accordingly, Third Home and

Shealy are jointly and severally liable to Lightbox in the

amount of $26,250.

    C. Specific Performance

    Lastly, Lightbox seeks specific performance of the

valuation and noncompete provisions of the Agreement.          Lightbox

has not shown that it is entitled to either.

    The parties have long recognized that their Joint Venture

ended no later than March 2016.      In March 2016, Third Home gave

notice of termination.     In filing this action in March, Lightbox

sought a declaration that Lightbox had validly terminated the

Agreement.    The Summary Judgment Opinion granted Lightbox’s

request for declarations that

    (1) [Third Home’s] actions constitute material
    breaches of the Agreement and that, therefore,
    LightBox may be relieved of any further performance
    obligations pursuant to the Agreement, while [Third
    Home] would not be entitled to enforce the Agreement
    against Lightbox.

    (2) [T]he Agreement may be validly terminated by
    Lightbox.

Lightbox II, 2017 WL 5312187, at * 13.       Thus, the Joint Venture

was terminated by both parties before it had begun its

operations.    There is no basis, therefore, either to order a

valuation of the Joint Venture or to enjoin competition with


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that failed venture.    Moreover, the terms of the Agreement do

not support either of those requests.

     Paragraph 15(e) of the Agreement applies “in the event

[Third Home] wishes to terminate th[e] Agreement with [Lightbox]

but continue to operate the business of the joint venture . . .

independently of [Lightbox].”      In that situation, Paragraph

15(e) provides that Third Home must obtain three separate

valuations of the Joint Venture and pay Lightbox 50% of the

average of the three valuations.        The Agreement does not provide

for a valuation or an accounting in any other circumstances.

     Lightbox is not entitled to a valuation pursuant to

Paragraph 15(e) because there is no evidence that Third Home

wishes to continue operating the Joint Venture.10        Third Home has

never indicated that it wishes to take over the Joint Venture

and, indeed, offered at summary judgment to stipulate that

Lightbox “exclusively own[s] and control[s]” the Website.          See

Lightbox II, 2017 WL 5312187, at *12.

     Nor is Lightbox entitled to an injunction barring Third

Home from competing with the Joint Venture for two years.          A

party is entitled to a permanent injunction if it shows

     (1) that it has suffered an irreparable injury; (2)

10In addition, Lightbox has failed to show that any valuation of
the Joint Venture would be reliable. As discussed in the
Summary Judgment Opinion, Lightbox’s two projections of the
Joint Venture’s future profits were entirely speculative. See
Lightbox II, 2017 WL 5312187, at *9-*11.


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     that remedies available at law, such as monetary
     damages, are inadequate to compensate for that injury;
     (3) that, considering the balance of hardships between
     the plaintiff and defendant, a remedy in equity is
     warranted; and (4) that the public interest would not
     be disserved by a permanent injunction.

Salinger v. Colting, 607 F.3d 68, 77 (2d Cir. 2010) (citation

omitted).   Here, Lightbox has neither suffered an irreparable

injury nor shown that monetary damages are insufficient to

compensate it.

     As Lightbox acknowledges, “[t]his action is, at its heart,

a damages action.”    Lightbox I, 2016 WL 6562107, at *10.        Over

two years have passed since it filed this lawsuit, and Lightbox

offers no explanation why an injunction would be appropriate at

this stage other than to say that it is entitled to an

injunction under Paragraph 15(c) of the Agreement.11         Moreover,

the Court credits the testimony from Third Home’s CEO and from

its CFO that Third Home has never received any real estate

brokerage commissions from the Exclusive Brokers and no longer

wishes to participate in the real estate sales market.          To the

extent Lightbox has been harmed, it has been compensated by the

damages awards granted above.

     D. Attorneys’ Fees

     Lightbox also seeks an award of its attorneys’ fees as part




11Lightbox does not include a request for an injunction in its
proposed findings of fact and conclusions of law.


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of its damages on the breach of fiduciary duty claim.          This

request is denied.    In support of its claim, Lightbox cites a

federal ERISA case that does not discuss New York law, and a New

York case that states that

     [t]he general rule is that the legal expenses
     necessarily incurred in carrying on a lawsuit may not
     be recovered as general or special damages. There is
     a well-recognized exception, however, where the
     damages are the proximate and natural consequence of
     defendants’ tortious act which requires plaintiff to
     defend or to bring an action against a third party.

Cent. Trust Co., Rochester, N.Y. v. Goldman, 417 N.Y.S.2d 359,

361 (4th Dep’t 1979).    Lightbox was not forced to bring or

defend a suit against a third party as a result of Third Home’s

breach of fiduciary duty, so this exception is inapplicable.12

     E. Summary

     Lightbox is awarded $67,088.19 on its breach of contract

claim and $26,250 on its breach of fiduciary duty claim, for a

total of $93,338.19.13    Third Home is liable for the full amount

of $93,338.19, and Shealy is jointly and severally liable for

$26,250 of this amount for aiding and abetting Third Home’s


12To the extent Lightbox also seeks attorneys’ fees on a theory
of surcharge, this request is also denied. Surcharge is an
equitable remedy available when a trust beneficiary prevails in
a suit against a trustee for the breach of an investment duty
related to the trust. See Velez v. Feinstein, 451 N.Y.S.2d 110,
114 (1st Dep’t 1982); see also CIGNA Corp. v. Amara, 563 U.S.
421, 441-42 (2011). Third Home was not a trustee.

13These awards are in addition to the $38,888.01 awarded in the
January 18 Order as a discovery sanction.


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breach of its fiduciary duty to Lightbox.        Judgment is granted

to Third Home, however, on Lightbox’s claims for $115,000 in

consultancy fees, for an accounting, for an injunction barring

Third Home from competing against it for two years, and for

attorneys’ fees arising out of Lightbox’s breach of fiduciary

duty claim.

II. Third Home’s Claims

     Third Home brings counterclaims against Lightbox and third-

party claims against Ellner arising out of Ellner’s use of Third

Home trademarks after this lawsuit was filed.        Third Home brings

claims under the Anticybersquatting Consumer Protection Act

(“ACPA”), 15 U.S.C. § 1125(d), and under the Lanham Act, 15

U.S.C. § 1051, et seq.14    As Lightbox acknowledges in its trial

submissions, it has not contested the validity of Third Home’s

trademarks in this litigation.

     A. ACPA Claims

     Third Home claims that Lightbox violated its rights under

ACPA in three ways.    First, Lightbox registered a domain name

that used Third Home’s trademark.       Second, Lightbox

“resurrect[ed]” a domain name.      Third, Lightbox communicated




14Third Home’s Answer and Third-Party Complaint lists claims
under state trademark infringement law and the Uniform Domain
Name Dispute Resolution Policy. Third Home does not address
those claims in its trial submissions, and they are accordingly
waived.


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with property owners using Third Home’s trademarks.

     Third Home’s counterclaim and third-party complaint list

three domains that it claims Lightbox and/or Ellner used

improperly:   thirdhomerealestate.com, 3rdhomerealestate.com, and

3rdhomerealty.com.    Lightbox, however, has submitted an internet

domain registration statement that reflects Shealy as the

registrant of thirdhomerealestate.com.        Third Home does not

address this in its trial submissions.        There is thus no

evidence that Lightbox used thirdhomerealestate.com and Third

Home’s counterclaims and third-party claims are dismissed to the

extent that they are based on Lightbox and/or Ellner’s use of

that domain.15

     Ellner does not contest that he used the

andy@3rdhomerealestate.com email address after this lawsuit was

commenced.    Nor does he contest that he registered the domain

3rdhomerealty.com on July 21, 2016, after the Website was taken

down by Shealy on July 19, 2016.        Instead, Ellner explains his

actions as motivated by a desire to further the purposes of the

Joint Venture and to restore the Website after Shealy took the

Website down.

     A party is liable under ACPA if it

     (i) has a bad faith intent to profit from [a] mark

15Lightbox’s motion in limine to preclude Third Home from
offering evidence that Lightbox or Ellner used the
thirdhomerealestate.com domain is denied as moot.


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    . . . ; and

    (ii) registers, traffics in, or uses a domain name
    that--

          (I) in the case of a mark that is distinctive at
          the time of registration of the domain name, is
          identical or confusingly similar to that mark.

15 U.S.C. § 1125(d)(1)(A).

    Among the non-exhaustive list of factors that a court “may

consider” to determine “whether a person has a bad faith intent”

within the meaning of ACPA are:

    (I) the trademark or other intellectual property
    rights of the person, if any, in the domain name;

    . . .

    (III) the person’s prior use, if any, of the domain
    name in connection with the bona fide offering of any
    goods or services;

    . . .

    (V) the person’s intent to divert consumers from the
    mark owner’s online location to a site accessible
    under the domain name that could harm the goodwill
    represented by the mark, either for commercial gain or
    with the intent to tarnish or disparage the mark, by
    creating a likelihood of confusion as to the source,
    sponsorship, affiliation, or endorsement of the site;

    . . .

    (VIII) the person’s registration or acquisition of
    multiple domain names which the person knows are
    identical or confusingly similar to marks of others
    that are distinctive at the time of registration of
    such domain names, or dilutive of famous marks of
    others that are famous at the time of registration of
    such domain names, without regard to the goods or
    services of the parties; and



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     (IX) the extent to which the mark incorporated in the
     person’s domain name registration is or is not
     distinctive and famous within the meaning of
     subsection (c).

Id. § 1125(d)(1)(B)(i).

     In addition, ACPA provides that “[b]ad faith intent . . .

shall not be found in any case in which the court determines

that the person believed and had reasonable grounds to believe

that the use of the domain name was a fair use or otherwise

lawful.”   Id. § 1125(d)(1)(B)(ii).      A plaintiff bringing an ACPA

claim is entitled to elect to recover “actual damages and

profits” or “statutory damages in the amount of not less than

$1,000 and nor more than $100,000 per domain name, as the court

considers just.”    Id. § 1117(d).

     Third Home has failed to show that Ellner acted with a “bad

faith intent to profit” from his use of the

andy@3rdhomerealestate.com email address.16       Ellner briefly used

the email address in July and perhaps August of 2016 to reassure

the Joint Venture’s clients that the business would continue

after the defendants had deactivated the Website.         Those emails

do not reflect a bad faith intent to profit from the




16None of the parties addresses whether Third Home’s marks were
distinctive at the time Ellner used the domain names, which is a
predicate for ACPA liability. See 15 U.S.C.
§ 1125(d)(1)(A)(ii). Accordingly, Lightbox and Ellner have
forfeited any argument that Third Home’s marks are not
distinctive.


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3rdhomerealestate.com domain.      Further, it is undisputed that

Third Home had the ability to close the

andy@3rdhomerealestate.com email account at any time -- which it

did in 2017.   The evidence shows that Ellner “believed and had

reasonable grounds to believe that the use of the

[3rdhomerealestate] domain name was a fair use or otherwise

lawful” based on his use of the domain to further the purposes

of the Joint Venture.    15 U.S.C. § 1125(d)(1)(B)(ii).        The ACPA

counterclaim and third-party ACPA claim are dismissed insofar as

they are based on Ellner’s use of the andy@3rdhomerealestate.com

email address.

    Third Home has carried its burden of showing that Ellner

acted in bad faith to profit from his registration of

3rdhomerealty.com on July 21, 2016.       While Ellner no doubt did

so in a futile hope that the Joint Venture could be revived, the

creation of a domain name that is confusingly similar to the

defendants’ was wrongful.     Ellner knew that he had no right to

do so.   As a result, Third Home has shown that Ellner violated

ACPA when he registered the 3rdhomerealty.com domain.

    ACPA directs the court to choose an amount of statutory

damages between $1,000 and $100,000, as a court considers just.

Third Home urges that an award of $100,000 is appropriate,

whereas Lightbox contends that $1,000 is appropriate.

    An award of $10,000 in statutory damages is appropriate in


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the circumstances.    Ellner and Lightbox are liable for a single

ACPA violation.   Defendants have not shown that Ellner made

extensive use of the site or profited from it.         It was used to

communicate with clients of the failed Joint Venture.          No larger

award is necessary to serve the purposes of the ACPA.

    B. Lanham Act Claims

    Third Home contends that the same evidence that supports

its ACPA claim shows three violations of the Lanham Act.           For

the reasons that follow, judgment is granted to Lightbox and

Ellner on the Lanham Act claims.

    Third Home has trademark registrations for “3rd Home” and

“3rd Home” with the letter “o” in Home replaced by the image of

a home.   As before, Lightbox does not contest the validity of

Third Home’s trademarks.

    Lanham Act claims are analyzed under a two-part test:               “The

first prong looks to whether the senior user’s mark is entitled

to protection; the second to whether the junior user’s use of

its mark is likely to cause consumers confusion as to the origin

or sponsorship of the junior user’s goods.”        Guthrie Healthcare

Sys. v. ContextMedia, Inc., 826 F.3d 27, 37 (2d Cir. 2016).              The

first prong is satisfied by showing that a mark is valid and

registered, owned by the registrant, and that the registrant has

the exclusive right to use the mark in commerce.         See id.

Because Lightbox does not contest the validity of the


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registration of Third Home’s marks, the sole issue is consumer

confusion.

    Consumer confusion is “analyzed with reference to the eight

factors first articulated in Polaroid Corp. v. Polarad Elecs.

Corp., 287 F.2d 492, 495 (2d Cir. 1961).”        Cross Commerce Media,

Inc. v. Collective, Inc., 841 F.3d 155, 168 (2d Cir. 2016).

    The eight factors are: (1) strength of the trademark;
    (2) similarity of the marks; (3) proximity of the
    products and their competitiveness with one another;
    (4) evidence that the senior user may “bridge the gap”
    by developing a product for sale in the market of the
    alleged infringer’s product; (5) evidence of actual
    consumer confusion; (6) evidence that the imitative
    mark was adopted in bad faith; (7) respective quality
    of the products; and (8) sophistication of consumers
    in the relevant market.

Int’l Info. Sys. Sec. Certification Consortium, Inc. v. Sec.

Univ., LLC, 823 F.3d 153, 160 (2d Cir. 2016) (citation omitted).

“The application of the Polaroid test is not mechanical, but

rather, focuses on the ultimate question of whether, looking at

the products in their totality, consumers are likely to be

confused.”   Kelly-Brown v. Winfrey, 717 F.3d 295, 307 (2d Cir.

2013) (citation omitted).

    First, for the reasons explained above, there is no

evidence that Ellner ever used the thirdhomerealestate.com

domain, so the Lanham Act claims fail to the extent they are

premised on use of that domain.      Second, also for the reasons

given in discussing the ACPA claim, Ellner did not act with bad



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faith intent to deceive when he used his

andy@3rdhomerealestate.com email address, and there is no

likelihood that consumers were confused.        Accordingly, judgment

is granted for Ellner and Lightbox on the Lanham Act claims to

the extent they are premised on the thirdhomerealestate.com and

3rdhomerealestate.com domain names and associated email

addresses.

    With regard to the 3rdhomerealty.com domain that Ellner

registered in July 2016, it is assumed that the defendants have

established a violation of the Lanham Act.        The defendants have

not shown, however, that they are entitled to damages for this

asserted violation.

    Third Home does not attempt to prove actual consumer

confusion, and instead relies on a presumption of confusion

based on its contention that Ellner acted with intent to

deceive.   Third Home has failed to show confusion.        In addition,

Third Home has not shown it is entitled to damages.

    Third Home requests “statutory damages of $100,000 for each

of the three (3) violations,” apparently referring to its ACPA

claims, and does not separately request damages on its Lanham

Act claims.   The Lanham Act does not provide for statutory




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damages, however, for the type of violation at issue here.17

Instead, damages are limited to “(1) defendant’s profits, (2)

any damages sustained by the plaintiff, and (3) the costs of the

action” and are “subject to the principles of equity.”          15

U.S.C. § 1117(a).    Lightbox and Ellner did not profit from the

3rdhomerealty.com domain, and Third Home has not shown that it

sustained any damages from Ellner’s registration of the domain.

In addition, it would be inequitable on this record to award

Third Home the costs of bringing this action where Third Home

has not shown any damages and where Ellner’s registration of the

3rdhomerealty.com domain, though wrongful, was short-lived.

Judgment is granted to Ellner and Lightbox on Third Home’s

Lanham Act claims.

     C. Attorneys’ Fees

     Third Home seeks an award of attorneys’ fees on its ACPA

and Lanham Act claims.     15 U.S.C. § 1117(a) provides that “in

exceptional cases” a court “may award reasonable attorney fees

to the prevailing party.”     Third Home prevailed on one of its

ACPA claims.   As the Supreme Court has explained with regard to

the identically worded fee-shifting provision of the patent

laws, “an ‘exceptional’ case is simply one that stands out from




17The Lanham Act provides for statutory damages for two types of
violations: cyberpiracy in violation of ACPA and
counterfeiting. See 15 U.S.C. §§ 1117(c), (d).


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others with respect to substantive strength of a party’s

litigating position (considering both the governing law and the

facts of the case) or the unreasonable manner in which the case

was litigated.”      Octane Fitness, LLC v. ICON Health & Fitness,

Inc., 134 S. Ct. 1749, 1756 (2014).

    There is nothing exceptional about the ACPA claim on which

Third Home prevailed.       Accordingly, its request for an award of

fees is denied.

    D. Summary

    Third Home has proven one violation of ACPA arising out of

Ellner’s registration of the 3rdhomerealty.com domain.             Judgment

is granted to Third Home on that claim, and it is awarded

$10,000.     Third Home is not entitled to statutory fee shifting.

Third Home has failed to prove any other violations of ACPA and

failed to prove any violations of the Lanham Act, and judgment

is granted to Lightbox and Ellner on those claims.

III. Interest

    The net judgment is $83,338.19 in favor of Lightbox.

Lightbox is also awarded prejudgment interest of 9% per annum

running from January 1, 2016.         See N.Y. C.P.L.R. §§ 5001(a),

5004.

IV. Contractual Fee Shifting

    The Agreement provides for fee shifting in certain

circumstances.      Each side seeks attorneys’ fees pursuant to the


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Agreement.   In addition, Third Home seeks fees paid to its

expert witness in connection with its successful motion to

exclude Lightbox’s valuation experts at summary judgment.18

     Paragraph 4(c) of the Agreement provides as follows:

     If either party employs attorneys to enforce any
     rights arising out of or relating to this agreement,
     the losing party shall reimburse the prevailing party
     for its reasonable attorneys’ fees and costs.

The Agreement provides in Paragraph 4(a) that New York law

governs.

     “Under New York law, a contract that provides for an award

of reasonable attorneys’ fees to the prevailing party in an

action to enforce the contract is enforceable if the contractual

language is sufficiently clear.”        NetJets Aviation, Inc. v. LHC

Commc’ns, LLC, 537 F.3d 168, 175 (2d Cir. 2008).         A successful

defendant may be a prevailing party and receive fees incurred in

the successful defense of a claim.       See Kessel Brent Corp. v.

Benderson Prop. Dev., Inc., 893 N.Y.S.2d 401, 402 (4th Dep’t

2009).

     To determine “whether a party is a prevailing party, a




18Lightbox moves in limine to preclude Third Home from
introducing the affidavit of its expert, William Chandler,
because he has not been qualified by the Court as an expert and
because there are no remaining issues as to which his testimony
is relevant. Third Home has submitted Chandler’s affidavit
solely to support its claim for fee shifting. As Third Home
does not rely on Chandler as an expert for any of the issues to
be tried, Lightbox’s third motion in limine is denied as moot.


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fundamental consideration is whether that party has prevailed

with respect to the central relief sought.”        Chainani v.

Lucchino, 942 N.Y.S.2d 735, 736 (4th Dep’t 2012) (citation

omitted).   In general, “the prevailing or successful party is

the party in whose favor a net judgment was entered.”

Wiederhorn v. Merkin, 952 N.Y.S.2d 478, 481 (1st Dep’t 2012).

“It is not necessary for a party to prevail on all of his claims

in order to be considered prevailing.”        Id. at 863 (citation

omitted); see also Excelsior 57th Corp. v. Winters, 641 N.Y.S.2d

675, 676 (1st Dep’t 1996) (Where landlord sued for 54 months’

rent, tenants claimed constructive eviction for 24 of those

months but only were awarded rent abatement for 4 1/2 months,

the landlord was the prevailing party and entitled to attorneys’

fees.).

     The core of this dispute was assigning fault for the

breakdown of the Joint Venture.      Measuring the parties’ results

in this way, Lightbox prevailed.        The upshot of this litigation

is a determination that Third Home breached the Agreement and

its fiduciary duty to Lightbox.      The net judgment is $83,338.19

in Lightbox’s favor.    Considering the claims numerically,

Lightbox prevailed on all but one of its claims while defeating

all but one of Third Home’s ACPA claims.19       Third Home was not


19Although Third Home significantly reduced the damages
available to Lightbox in its successful motion to exclude


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successful in resisting the core of the dispute and so it has

not prevailed in this litigation.       As a result, Lightbox is the

prevailing party.

    Under the Agreement, the prevailing party is entitled to

“reasonable” attorneys’ fees.      Third Home has conceded from at

least the time that the parties litigated the preliminary

injunction motion in the summer of 2016, that it owed Lightbox

at least $62,158 for the build-out of the Website.         Accordingly,

Lightbox’s net judgment won it only about $20,000 above the

amount that Third Home conceded almost two years ago that it

owed to Lightbox.    Moreover, from the time the Preliminary

Injunction Opinion was issued, Lightbox was on notice that its

likelihood of recovering anticipated future profits of the Joint

Venture was slim, given how “speculative” those profits were.

See Lightbox I, 2016 WL 6562107, at *10-*11.        Accordingly, while

Lightbox has shown that it is entitled to its reasonable

attorneys’ fees through the time Lightbox I was issued, it has

not shown it is entitled to attorneys’ fees beyond that date.



                               Conclusion

    Third Home is liable to Lightbox for $67,088.19 on



Lightbox’s expert valuations, New York law does not appear to
recognize nondispositive motion practice as a means of judging
whether a party has prevailed, unless the motion affects the
core relief sought.


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Lightbox’s breach of contract claim.       Third Home and Shealy are

jointly and severally liable to Lightbox for $26,250 on

Lightbox’s breach of fiduciary duty claim.        Lightbox and Ellner

are jointly and severally liable to Third Home and Shealy for

$10,000 for one violation of ACPA.       Lightbox is accordingly

awarded $83,338.19, plus prejudgment interest of 9% per annum

running from January 1, 2016.      The Clerk of Court is directed to

enter final judgment in favor of Lightbox.        Lightbox is also

awarded its reasonable attorneys’ fees for the period before

October 28, 2016, and is directed to file an application for its

fees, with supporting documentation, as directed by a Scheduling

Order filed contemporaneously with this Opinion.         The Clerk of

Court is directed to release funds deposited by Third Home on

March 5, 2018 in the amount of $38,888.01 to Lightbox pursuant

to the Court’s March 12, 2018 Order.



Dated:    New York, New York
          April 13, 2018

                            __________________________________
                                       DENISE COTE
                               United States District Judge




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